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                 IN THE UNITED STATES DISTRICT COURT FOR THE
8
                         EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,          ) 1:08-cr-00212 OWW
11                                      )
                    Plaintiff,          )
12                                      )
          v.                            )ORDER
13                                      )
                                        )
14   JASDEV SINGH,                      )
                                        )
15                  Defendant.          )
     __________________________________ )
16
17        Having read and considered the parties’ stipulation to
18   continue the current sentencing date of August 24, 2009, to
19   October 13, 2009, in this matter,
20        IT IS THE ORDER of the Court that the current sentencing
21   date is hereby continued to October 13, 2009, at 9:00 a.m.
22
23   IT IS SO ORDERED.
24   Dated: August 17, 2009                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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